 Case 3:25-md-03149-BEN-MSB          Document 221       Filed 06/17/25   PageID.366     Page 1
                                           of 10


 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11   IN RE: POWERSCHOOL HOLDINGS, ) Case No.: 25-md-3149-BEN-MSB
12   INC. AND POWERSCHOOL GROUP,  )
     LLC CUSTOMER SECURITY BREACH ) CASE MANAGEMENT
13   LITIGATION,                  ) ORDER NO. 4
14                                )
                                  )
15                                )
16
17
18
           In Case Management Order No. 2, the Court invited attorneys who had filed a civil
19
     action in this litigation to submit applications for Plaintiffs’ Co-Lead Counsel and/or
20
     Plaintiffs’ Steering Committee, as well as Plaintiffs’ Liaison Counsel. Applications from
21
     an impressive array of applicants were submitted and the Court conducted interviews On
22
     June 6, 2025. All applicants were highly qualified and committed candidates, thereby
23
     making the selection process difficult. The Court encourages counsel who were not
24
     appointed to formal roles at this time to meaningfully engage with Plaintiffs’ Leadership.
25
           The Court equally encourages Plaintiffs’ leadership team to utilize, as needed, the
26
     skills and the experience of all applicants for the common benefit of all Plaintiffs in this
27
     action.
28
           The Court carefully considered the applicants’ written submissions and oral
                                                  -1-
                                                                         Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB         Document 221       Filed 06/17/25   PageID.367     Page 2
                                          of 10


 1
     statements in light of the criteria set forth in Case Management Order No. 2, the Manual
 2
     for Complex Litigation, and Federal Rule of Civil Procedure 23(g). In addition, the
 3
     Court was particularly interested in appointing a diverse and experienced leadership
 4
     group that is fully committed to coordinating efforts and sharing information and research
 5
     to advance these claims in an efficient and cost-effective manner.
 6
           As stated previously, the decision as to who to appoint to the Co-Lead Counsel or
 7
     Plaintiffs’ Steering Committee positions was not an easy one. The Court considered each
 8
     applicant’s experience, workload, geographical diversity, the client’s diverse, divergent
 9
     and competing interests, and the willingness to make this case and its resolution of
10
     highest priority.
11
           While the Court is fully aware of the time and resources that Plaintiffs’ leadership
12
     team will be required to expend in this MDL, the Court has no intention of requiring the
13
     parties to needlessly duplicate efforts and thus will be appointing Co-Lead Counsel,
14
     Liaison Counsel, and a Plaintiffs’ Steering Committee.
15
           Based upon the foregoing, the Court appoints the following:
16
     I. CO-LEAD COUNSEL
17
           1. Interim Co-Lead Counsel for Class Action Plaintiffs:
18
           David S. Casey, Jr
19
           Casey Gerry Francavilla Blatt LLP
20
           110 Laurel Street
21
           San Diego, CA 92101-1486
22
           2. Co-Lead Counsel for Teachers Unions Plaintiffs:
23
           Carol C. Villegas
24
           Lebaton Keller Sucharow LLP
25
           140 Broadway
26
           New York, NY 10005
27
           3. Co-Lead Counsel for Individual Action Plaintiffs:
28
           James J. Pizzirusso
                                                 -2-
                                                                        Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB             Document 221    Filed 06/17/25   PageID.368     Page 3
                                              of 10


 1
           Hausfeld LLP
 2
           1200 17th Street, N.W., Suite 600
 3
           Washington, DC 20036
 4
           Co-Lead Counsel are responsible for coordinating the activities of Plaintiffs during
 5
     pretrial proceedings. They will have the following responsibilities, including, without
 6
     limitation:
 7
           a. Determine and present to the Court and opposing parties the position
 8
           of all matters arising during pretrial proceedings;
 9
           b. Coordinate the initiation and conduct of discovery consistent with
10
           the requirements of the Federal Rules of Civil Procedure;
11
           c. Coordinate with members of the Plaintiffs’ Steering Committee in management
12
           of the litigation and fund the necessary and appropriate costs of discovery and
13
           other common benefit efforts, including the maintenance of a Plaintiffs’
14
           document depository;
15
           d. Coordinate settlement discussions or other dispute resolution
16
           efforts on behalf of Plaintiffs, under the Court’s supervision;
17
           e. Delegate specific tasks to other counsel in the matter to ensure that
18
           pretrial preparation is conducted effectively, efficiently, and
19
           economically; schedules are met; and unnecessary expenditures of
20
           time and expense are avoided;
21
           f. Consider the qualifications of non-leadership counsel who
22
           submitted applications for specific tasks when assigning duties;
23
           g. Consult with and employ consultants or experts, as necessary;
24
           h. Enter into stipulations with opposing counsel necessary for the
25
           conduct of the litigation;
26
           i. Encourage full cooperation and efficiency among all Plaintiffs’ counsel;
27
           j. Prepare and distribute periodic status reports to the parties and the
28
           Court;
                                                  -3-
                                                                         Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB           Document 221    Filed 06/17/25   PageID.369     Page 4
                                            of 10


 1
          k. Maintain contemporaneous adequate time and disbursement records covering
 2
          service of designated counsel and establishing guidelines for approval by the Court
 3
          as to the keeping of time records and expenses;
 4
          l. Determine reasonable compensation for non-leadership counsel
 5
          commensurate with their contributions from a settlement fund, if
 6
          any, or a verdict;
 7
          m. Monitor the activities of co-counsel to ensure that schedules are met
 8
          and unnecessary expenditures of time and funds are avoided;
 9
          n. Present all matters of common concern to Plaintiffs;
10
          o. Perform such other duties as may be incidental to proper coordination
11
          with the Plaintiffs’ Steering Committee’s pretrial activities or as authorized by
12
          further order of the Court; and
13
          p. Submit, if appropriate, additional committees and counsel for
14
          designation by the court.
15
     II. PLAINTIFFS’ STEERING COMMITTEE:
16
          The Court appoints the following attorneys as members of the Plaintiffs’ Steering
17
     Committee:
18
          Albert Y. Chang
19
          Bottini & Bottini, Inc.
20
          7817 Ivanhoe Avenue, Suite 102
21
          La Jolla, CA 92037
22
23
          Yana Hart
24
          Clarkson Law Firm
25
          501 W. Broadway Suite 800
26
          San Diego, CA 92101
27
28
          E. Michelle Drake
                                                -4-
                                                                       Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB          Document 221       Filed 06/17/25   PageID.370     Page 5
                                           of 10


 1
           Berger Montague
 2
           1229 Tyler Street Ne, Suite 205
 3
           Minneapolis, MN 55413
 4
 5
           Jason S. Hartley
 6
           Hartley LLP
 7
           101 W. Broadway, Suite 820
 8
           San Diego, CA 92101
 9
10
           Amber L. Schubert
11
           Schubert Jonckheer & Kolbe
12
           2001 Union St, Suite 200
13
           San Francisco, CA 94123
14
15
           Leonard W. Aragon
16
           Hagens Berman Sobol Shapiro LLP
17
           11 West Jefferson Street, Suite 1000
18
           Phoenix, AZ 85003
19
           The Plaintiffs’ Steering Committee will conduct and coordinate the discovery stage
20
     of this litigation with defense representatives. It will be chaired by Co-Lead Counsel.
21
     The Plaintiffs’ Steering Committee is given the responsibility to create such committees
22
     and subcommittees as are necessary to efficiently carry out its responsibilities, designate
23
     members thereof, and to delegate common benefit work responsibilities to selected
24
     counsel (including non-members of the PSC), as may be required for the common benefit
25
     of Plaintiffs. The Plaintiffs’ Steering Committee will have the following responsibilities:
26
           a. Discovery
27
           1) Initiate, coordinate, and conduct all pretrial discovery on behalf of Plaintiffs in
28
           all actions which are consolidated with the instant MDL;
                                                  -5-
                                                                         Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB       Document 221       Filed 06/17/25    PageID.371     Page 6
                                        of 10


 1
        2) Develop and propose to the Court schedules for the commencement, execution,
 2
        and completion of all discovery on behalf of all Plaintiffs;
 3
        3) Cause to be issued in the name of all Plaintiffs the necessary discovery requests,
 4
        motions, and subpoenas pertaining to any witnesses and documents needed to
 5
        properly prepare for the pretrial discovery of relevant issues found in the pleadings
 6
        of this litigation. Similar requests, notices, and subpoenas may be caused to be
 7
        issued by the Plaintiffs’ Steering Committee upon written request by an individual
 8
        attorney in order to assist him/her in the preparation of the pretrial stages of his/her
 9
        client’s particular claims;
10
        4) Conduct all discovery in a coordinated, efficient, and consolidated manner on
11
        behalf and for the benefit of all Plaintiffs. No attorney for a Plaintiff may be
12
        excluded from attending the examination of witnesses and other proceedings.
13
        Such attorney may suggest questions to be posed to deponents through the
14
        designated Plaintiffs’ Steering Committee members provided that such questions
15
        are not repetitious.
16
        b. Hearings and Meetings
17
        1) Call meetings of counsel for Plaintiffs for any appropriate purpose, including
18
        coordinating responses to questions of other parties or the court. Initiate proposals,
19
        suggestions, schedules, or joint briefs, and any other appropriate matter(s)
20
        pertaining to pretrial proceedings;
21
        2) Examine witnesses and introduce evidence at hearings on behalf of all Plaintiffs;
22
        3) Act as spokesperson for all Plaintiffs at pretrial proceedings and in response to
23
        any inquiries by the Court, subject to the right of any Plaintiffs’ counsel to present
24
        non-repetitive, individual, or different positions;
25
        c. Miscellaneous
26
        1) Submit and argue any verbal or written motions presented to the Court on behalf
27
        of the Plaintiffs’ Steering Committee as well as oppose, when necessary, any
28
        motions submitted by Defendant(s) or other parties which involve matters within
                                               -6-
                                                                       Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB          Document 221       Filed 06/17/25   PageID.372     Page 7
                                           of 10


 1
           the sphere of the responsibilities of the Plaintiffs’ Steering Committee;
 2
           2) Explore, develop, and pursue all settlement options pertaining to any claim or
 3
           portion thereof of any case filed in this litigation;
 4
           3) Maintain adequate files of all pretrial matters and have them available, under
 5
           reasonable terms and conditions, for examination by Plaintiffs or their attorneys;
 6
           4) Prepare periodic status reports summarizing the Plaintiffs’ Steering Committee’s
 7
           work and progress. These reports shall be submitted to the Plaintiffs’ Liaison
 8
           Counsel who will promptly distribute copies to the other Plaintiffs’ attorneys;
 9
           5) Perform any task necessary and proper for the Plaintiffs’ Steering Committee to
10
           accomplish its responsibilities as defined by the Court’s orders; and
11
           6) Perform such other functions as may be expressly authorized by further orders
12
           of this Court.
13
     III. PLAINTIFFS’ LIAISON COUNSEL
14
           The Court appoints as Plaintiffs’ Liaison Counsel:
15
           Jennifer M. French
16
           Lynch Carpenter, LLP, Suite 180
17
           9171 Towne Centre Drive
18
           San Diego, California 92122
19
           (619-762-1903)
20
           Plaintiffs’ Liaison Counsel will be charged with administrative matters.
21
     Notwithstanding the appointment of Liaison Counsel, counsel shall have the right to
22
     participate in all proceedings before the court as fully as such counsel deems necessary.
23
     Liaison Counsel shall not have the right to bind any party as to any matter without the
24
     consent of counsel for that party, except Liaison Counsel’s own clients. Further, Liaison
25
     Counsel shall remain free to represent the interests and positions of her clients free of any
26
     claim (including without limitation any claim of conflict) arising from service as Liaison
27
     Counsel. She will have the following responsibilities, including without limitation:
28
           a. Act as the primary contact between the Court and Plaintiffs’ counsel;
                                                  -7-
                                                                         Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB           Document 221      Filed 06/17/25   PageID.373     Page 8
                                            of 10


 1
           b. Coordinate with any state court liaisons to organize matters pending in the
 2
           appropriate jurisdictions;
 3
           c. Maintain an up-to-date, comprehensive Service List of Plaintiffs and
 4
           promptly advise the court and defense counsel of changes to Plaintiffs’ Service
 5
           List;
 6
           d. Receive and distribute to Plaintiffs’ counsel, as appropriate, orders, notices, and
 7
           correspondence from the Court to the extent such documents are not electronically
 8
           filed;
 9
           e. Receive and distribute to Plaintiffs’ counsel, as appropriate, discovery,
10
           pleadings, correspondence, and other documents from defense counsel that are not
11
           electronically filed;
12
           f. Establish and maintain a document depository;
13
           g. Maintain and make available to co-counsel at reasonable hours a complete file
14
           of all documents served by or upon each party;
15
           h. Assist the Plaintiffs’ Steering Committee in resolving scheduling conflicts
16
           among the parties and coordinating activities, discovery, meetings, and hearings;
17
           i. Maintain a file-endorsed copy of this Order, and serve the same on the parties
18
           and/or their attorneys in any actions later instituted in, removed to, or transferred
19
           to, these proceedings;
20
           j. Maintain records of receipts and disbursements advanced by members of the
21
           Plaintiffs’ Steering Committee and received by the Plaintiffs’ Steering Committee,
22
           and report in writing to the Plaintiffs’ Steering Committee concerning
23
           disbursements, and
24
           k. Perform such other functions necessary to effectuate these responsibilities or as
25
           may be expressly authorized by further orders from the Court.
26
     IV. PLAINTIFFS’ LEADERSHIP CONFERENCE
27
           Those appointed to Plaintiffs’ leadership positions are expected to confer within
28
     fourteen days of the filing of this Order to establish the leadership structure, allocate
                                                  -8-
                                                                         Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB           Document 221         Filed 06/17/25   PageID.374     Page 9
                                            of 10


 1
     responsibilities, and institute a billing protocol.
 2
     V. PERSONAL NATURE OF APPOINTMENTS
 3
           The appointments of Co-Lead Counsel, Plaintiffs’ Steering Committee, and
 4
     Liaison Counsel are personal appointments. Although the Court has encouraged counsel
 5
     to have an associate with five years or more of relevant practice experience to assist and
 6
     participate in the prosecution of the actions, the appointees cannot be substituted by other
 7
     attorneys, including members of the appointees’ law firm, except with the Court’s prior
 8
     approval.
 9
     VI. TERM OF APPOINTMENT
10
           The appointments of Plaintiffs’ Co-Lead Counsel, Plaintiffs’ Steering Committee,
11
     and Plaintiffs’ Liaison Counsel will be for one-year terms, except, the Court may add or
12
     replace appointees on their own request, on the request of the leadership team, or on the
13
     Court’s own motion. The Court may revoke or amend the appointments at any time by
14
     Order of the Court.
15
     VII. COMMUNICATIONS WITH THE COURT
16
           All communications from Plaintiffs with the Court should be through Co-Lead
17
     Counsel or Liaison Counsel. If circumstances require direct correspondence with the
18
     Court by individual counsel, copies of any such communications must simultaneously be
19
     served on Co-Lead Counsel and Liaison Counsel.
20
     VIII. COMPENSATION AND REIMBURSEMENT
21
           The Court will make the final determination as to the compensation and
22
     reimbursement of Plaintiffs’ counsel. All timekeepers carrying out work for Plaintiffs’
23
     common benefit, including Plaintiffs’ Steering Committee members who may look to any
24
     common fund or agreement for reimbursement or compensation, shall maintain detailed
25
     and contemporaneous time and cost records. The Court may provide further details in a
26
     subsequent order.
27
28

                                                    -9-
                                                                            Case No.: 25-md-3149-BEN-MSB
 Case 3:25-md-03149-BEN-MSB         Document 221        Filed 06/17/25   PageID.375    Page 10
                                           of 10


 1
     IX. ADDITIONAL LEADERSHIP
 2
           Finally, should circumstances change and the need for new or additional leadership
 3
     position arise, the Court may invite additional applications for leadership.
 4
           IT IS SO ORDERED.
 5
     DATED:       June 17, 2025
 6                                                          HON. ROGER T. BENITEZ
 7                                                           United States District Judge

 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 -10-
                                                                         Case No.: 25-md-3149-BEN-MSB
